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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                         January 17, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    STAGE STORES, INC., et al.,1                                     )   Case No. 20-32564 (CML)
                                                                     )
                              Debtors.                               )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No.: 1226

       ORDER APPROVING PLAN ADMINISTRATOR’S SEVENTH MOTION FOR AN
             ORDER EXTENDING THE CLAIMS OBJECTION DEADLINE
                        UNDER THE CONFIRMED PLAN

             Upon the motion (the “Motion”)2 of Steven Balasiano, in his capacity as Plan

Administrator for the chapter 11 estates of Stage Stores, Inc. and Specialty Retailers, Inc.

(collectively, the “Debtors”), for entry of an order (this “Order”): (a) extending the Claims

Objection Deadline under the Plan and Confirmation Order; and (b) granting related relief, all as

more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having reviewed the Motion; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Stage Stores, Inc. (6900) and Specialty Retailers, Inc. (1900).
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Claims Objection Deadline pursuant to the Plan and the Confirmation Order is

hereby extended to August 12, 2024, without prejudice to any request for a further extension.

       2.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) are satisfied by such notice.

       3.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       4.      The Plan Administrator is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

       5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




 Houston, Texas
           August17,
           January 02,2024
 Dated: ____________,  2019
                      2024
                                              THE HONORABLE CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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